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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

        UNITED STATES OF AMERICA

       v.                    Case No. 8:10-cr-550-T-17MAP

        PAULA L. HORNBERGER

              FINAL JUDGMENT OF FORFEITURE FOR SUBSTITUTE ASSETS

              THIS CAUSE comes before the Court upon the United States’ Motion f
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        Final Judgment of Forfeiture for Substitute Assets, pursuant to 21 U.S.C. §

       853(n)(7) and Rule 32.2(c)(2) of the Federal Rules of Criminal Procedure, for the

       following property in partial satisfaction of the defendant’s $7,454,449.00

        Forfeiture Money Judgment:

                     a.     Approximately $4,127.47 seized from USAA Bank, including
                            Account Numbers 0010801359 and 001080137, held in the
                            name of Paula Hornberger;

                     b.     Approximately, $4,078.46 seized from a US Bank account,
                            held in the name of Paula Hornberger;

                     c.     Approximately $13,259.07 seized from Fidelity, Plan Account
                            Number 68548, held in the name of Paula Hornberger; and

                     d.     Approximately $13,465.15 seized from Overlake Hospital
                            Medical Center Contribution Plan 401 (a), plan Account
                            Number 68430, held in the name of Paula Hornberger at
                            Fidelity Investments.

              On February 21, 2013, pursuant to 21 U.S.C. § 853(p), as incorporated by

        18 U.S.C. § 982(b)(1), the Court entered a Preliminary Order of Forfeiture for

       Substitute Asset for the Overlake 401 (a) plan listed above. Doc. 1028. On June

       21, 2013, pursuant to 21 U.S.C. § 853(p) and 18 U.S.C. § 982(b)(1), the Court
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       entered an Amended Preliminary Order of Forfeiture for Substitute Assets for the

       remaining assets described above. Doc. 1237.

              The Court finds that in accordance with 21 U.S.C. § 853(n) and Rule

       32.2(b)(6)(C), the United States published notice of the forfeiture and of its intent to

       dispose of the assets on the official government website, www.forfeiture.gov. from

       November 8, 2012 through December 7, 2012, Doc. 927, and from March 14,2013

       through April 12, 2013. Doc. 1086. The publication gave notice to all third

       parties with a legal interest in the assets to file with the Office of the Clerk, United

       States District Court, Middle District of Florida, Sam Gibbons Federal Courthouse,

       2nd Floor, 801 North Florida Avenue, Tampa, Florida 33602, a petition to

       adjudicate their interests within 60 days of the first date of publication.      No

       third party has filed a petition or claimed an interest in the assets, and the time for

       filing such petition has expired.

              Accordingly, it is hereby:

              ORDERED, ADJUDGED, and DECREED that for good cause shown, the

       United States’ motion is GRANTED.

              It is FURTHER ORDERED that pursuant to 21 U.S.C. § 853(n)(7) and

       Federal Rule of Criminal Procedure 32.2(c)(2), all right, title and interest in the

       assets identified above are CONDEMNED and FORFEITED to the United States

       for disposition according to law.




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             Clear title to the assets is now vested in the United States of America.

             DONE and ORDERED in Tampa, Florida, this            ^             day

       of              T ~ _________ , 2015.




       Copies to:
       Suzanne C. Nebesky, AUSA
       Counsel of Record




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